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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                 DEL RIO DIVISION


  OSCAR ORONA IANF of N.O., a minor, et al.,  §
                                              §
            Plaintiffs,                       §
  v.                                          § No. 2:24-cv-00049-AM
                                              §
  CHRISTOPHER KINDELL, an individual, et al., §
                                              §
            Defendants.                       §
                                              §


                    DEFENDANT MOTOROLA SOLUTIONS, INC.’S
                   RULE 7.1 CORPORATE DISCLOSURE STATEMENT

 Pursuant to Federal Rule of Civil Procedure 7.1, Defendant Motorola Solutions, Inc. states:

 1.     Motorola Solutions, Inc. does not have a parent corporation and no publicly held

 corporation owns 10% or more of its stock.



Dated: June 20, 2024                            Respectfully submitted,



                                                /s/ Pete D. Laun
                                                Pete D. Laun
                                                Texas State Bar No. 24108952
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                                                ATTORNEYS FOR DEFENDANT
                                                MOTOROLA SOLUTIONS, INC.
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                                 CERTIFICATE OF SERVICE

   I hereby certify that on June 20, 2024, I caused the foregoing to be electronically filed with the

Clerk of Court for the U.S. District Court, Western District of Texas, by using the CM/ECF system,

which will send notice of electronic filing to all counsel of record.

                                              /s/ Pete D. Laun
                                              Pete D. Laun
